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      EXHIBIT A
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8.2   Digital Assets
      8.2.1    The Platform supports deposits and withdrawals of certain Digital Assets,
               including certain U.S. Dollar-pegged stablecoins (each a "USD Stablecoin").
               You may deposit Digital Assets that you already own into your Account by
               generating an address within your Account and sending your Digital Assets to
               such address, after which they should appear in your Account balance (USD
               Stablecoins will appear in your "USD Stablecoins (USD)" balance).
      8.2.2    You may purchase Digital Assets in exchange for certain supported fiat
               currencies (depending on your location) by linking a valid payment method to
               your Account. In such circumstances, you authorise us to debit the relevant
               amount of fiat currency using your selected payment method(s) to complete your
               purchase.
      8.2.3    The Platform enables you to exchange one Digital Asset for another Digital Asset,
               send Digital Assets to and receive Digital Assets from other Users of the
               Services, or third parties outside of the Platform (where permitted by FTX Trading
               in its sole discretion).
      8.2.4    You may sell Digital Assets in exchange for certain supported fiat currencies
               (depending on your location). In such circumstances, you authorise us to debit
               your Account and to send instructions to credit your selected payment method(s)
               in settlement of sell transactions.
      8.2.5    FTX Trading makes no representations or warranties regarding the amount of
               time, transaction fees or other requirements that may be required to complete the
               transfer of your Digital Assets to or from a third party wallet or other source and
               for said Digital Assets to become available in your Account.
      8.2.6    All Digital Assets are held in your Account on the following basis:
               (A)     Title to your Digital Assets shall at all times remain with you and shall not
                       transfer to FTX Trading. As the owner of Digital Assets in your Account,
                       you shall bear all risk of loss of such Digital Assets. FTX Trading shall
                       have no liability for fluctuations in the fiat currency value of Digital Assets
                       held in your Account.
               (B)     None of the Digital Assets in your Account are the property of, or shall or
                       may be loaned to, FTX Trading; FTX Trading does not represent or treat
                       Digital Assets in User’s Accounts as belonging to FTX Trading.
               (C)     You control the Digital Assets held in your Account. At any time, subject
                       to outages, downtime, and other applicable policies (including the
                       Terms), you may withdraw your Digital Assets by sending them to a
                       different blockchain address controlled by you or a third party.
      8.2.7    FTX Trading is under no obligation to issue any replacement Digital Asset in the
               event that any Digital Asset, password or private key is lost, stolen,
               malfunctioning, destroyed or otherwise inaccessible.
      8.2.8    It is your responsibility to ensure that you send all Digital Assets, to the correct
               address provided for that particular Digital Asset, including with respect to any
               Digital Assets that you send to the Platform. If you send a Digital Asset to an
               address that does not correspond to that exact Digital Asset (such as an address
               not associated with your Account or the specific Digital Asset sent), such Digital
               Asset may be lost forever. By sending any Digital Assets to the Platform, you
               attest that you will only send a supported Digital Asset to the Platform wallet
               address provided to you. For example, if you select an Ethereum Platform wallet
               address to receive funds, you attest that you are initiating an inbound transfer of
               Ethereum alone, and not any other forms of Digital Assets. You agree that FTX
               Trading incurs no obligation whatsoever with regards to sending unsupported
               Digital Assets to an address provided to you on the Platform. Similarly, if you




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